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     Federal Defender
2
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3    Assistant Federal Defender
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5    Telephone: (916) 498-5700
6
     Attorney for Defendant
7    JESUS LUPIAN
8
9
                         IN THE UNITED STATES DISTRICT COURT
10
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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13
     UNITED STATES OF AMERICA,      ) No. 2:07-cr-00298 MCE
14                                  )
                    Plaintiff,      )
15                                  ) STIPULATION AND ORDER CONTINUING
          v.                        ) CASE AND EXCLUDING TIME
16                                  )
     JESUS LUPIAN,                  )
17                                  ) Date: August 16, 2007
                    Defendant.      ) Time: 9:00 a.m.
18                                  ) Judge: Hon. Morrison C. England, Jr.
     ______________________________ )
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21         IT IS HEREBY STIPULATED by and between Assistant United States
22   Attorney Heiko P. Coppola, counsel for Plaintiff, Assistant Federal
23   Defender Jeffrey L. Staniels, counsel for Defendant Lupian that the
24   above case be dropped from this court’s August 16, 2007, calendar, that
25   it be continued until September 6, 2007, at 9:00 a.m., and that time be
26   excluded between August 16, 2007, and September 6, 2007, pursuant to 18
27   U.S.C. § 3161(h)(8)(A) & (B)(iv). Local Code T-4.
28   ///
              Case 2:07-cr-00298-MCE Document 18 Filed 08/17/07 Page 2 of 2


1          This continuance is sought in order to conduct discussions and
2    further consultation preparation for possible resolution of the case.
3          IT IS SO STIPULATED.
4
5    Dated:    August 15, 2007             /S/ Heiko P. Coppola
                                          HEIKO P. COPPOLA
6                                         Assistant United States Attorney
                                          Counsel for Plaintiff
7
8
     Dated:    August 15, 2007             /S/ Jeffrey L. Staniels
9                                         Jeffrey L. Staniels
                                          Assistant Federal Defender
10                                        Counsel for Defendant
                                          FRANCISCO BUCIO
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12
                                           O R D E R
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14         IT IS SO ORDERED.
15
16    Dated: August 16, 2007

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                                             _____________________________
18                                           MORRISON C. ENGLAND, JR.
19                                           UNITED STATES DISTRICT JUDGE

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     Stipulation & Order
     Continuing Case and Excluding Time        2
